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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                         Case No.: 16-62098-Civ-Zloch/Hunt

 JOAN M. HOWARD,

       Plaintiff,
 v.

 AMSHER COLLECTION SERVICES, INC.,

       Defendant.
 _______________________________/

        JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and having amicably resolved all

 matters in controversy, the parties jointly stipulate to a Dismissal with Prejudice of

 this action with each party to bear its own attorney’s fees and costs except as

 otherwise agreed by the parties.


 Donald A. Yarbrough, Esq.               Michael P. Schuette, Jr., Esq.
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 By: /s/ Donald A. Yarbrough             By: /s/ Michael P. Schuette
 Donald A. Yarbrough, Esq.               Michael P. Schuette, Jr., Esq.
Case 0:16-cv-62098-WJZ Document 8 Entered on FLSD Docket 09/29/2016 Page 2 of 2




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                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 29, 2016 ,I electronically filed
 the foregoing document with the Clerk of Court using CM/ECF. I also certify that
 the foregoing document is being served this day on all counsel of record or pro se
 parties identified on the attached Service List in the manner specified, either via
 transmission of Notices of Electronic Filing generated by CM/ECF or in some
 other authorized manner for those counsel or parties who are not authorized to
 receive electronically Notices of Electronic Filing.


                                              s/Donald A. Yarbrough
                                              Donald A. Yarbrough, Esq.


                                  SERVICE LIST

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